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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION

CINCY SHOP AND                             :       CASE NO.1:18-cv-00166
EMBROIDERY, D/B/A
HATS N’ MORE                               :       Judge Susan J. Dlott
                                           :       Magistrate Judge Stephanie K. Bowman
                     Plaintiff             :
                                                   PLAINTIFF/MOVANT CINCY SHOP’S
                                                   NOTICE OF DISMISSAL OF
                                                   VERIFIED COMPLAINT FOR
                                                   TEMPORARY RESTRAINING
                                                   ORDER AND TEMPORARY AND
                                                   PERMANENT INJUNCTION
                                                   AND MOTION FOR TEMPORARY
                                                   RESTRAINING ORDER WITHOUT
                                                   PREJUDICE
    v.
GENESCO, INC., ET AL.                      :

                     Defendants.

       Comes now Movant/Plaintiff, by his undersigned counsel, and hereby dismisses its

previously-filed Verified Complaint for Temporary Restraining Order and Temporary and

Permanent Injunction and Motion for Temporary Restraining Order in the above-captioned case

without prejudice.


                                           Respectfully submitted,
                                           /s/ Donald B. Hordes_____________
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                              CERTIFICATE OF SERVICE

      I hereby certify that a true and accurate copy of the Notice of Dismissal of Verified
   Complaint for Temporary Restraining Order and Temporary and Permanent Injunction and
   Motion for Temporary Restraining Order without Prejudice has been served by via electronic
   mail this 28th day of March 2018, on the following:

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                                                 /s/ Donald B. Hordes      _____________
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